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lN THE [H\llTED STATES DISTRICT COURT 05 "“ 5a

 

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FOR THE WESTERN DISTRICT oF TENNESSEE 4’“/.5 pfa ‘~’~
EASTERN DIVISION "
JIMMIE HILL and BARBARA HILL, )
)
Plaintiffs, )
)
VS. ) No. 1-04-1151-T~An

)
JAMES BOWLES, CHIEF OF POLICE )
OF GIBSON, TENNESSEE, er al., )
)
Defendants. )

 

ORDER GRANTING DEFENDANTS’ MOTION TO STRIKE, IN PART, AND
DENYING DEFENDANTS’ MOTION TO STRIKE, lN PART

 

Plaintit`t`s Jimrnie and Barbara Hill brought suit in the Circuit Court of Gibson County,
Tennessee, against Defendants James Bowles, Gibson Chief of Police, Wallace Keymon,
Maycr of Gibson, and the Town of Gibson, 'I`ennessee. Defendants removed the action to
district court, arguing that Plaintiffs’ claims appeared to be brought pursuant to 42 U.S.C. §
1983 because their complaint alleged action under color of law and retaliation and sought
attorneys fees as Well as a jury trial. Defendants filed this motion to strike the affidavits of
Michael Maenza, Jimmie Hill, and Barbara Hill pursuant to Fed. R. Civ. P. 37(0). Plaintiff
responded For the following reasons, Defendants’ motion is GRANTED With respect to
Jirnmie and Barbara Hill, but DENIED as to Michael Maenza.

Fed. R, Civ. P. 37(0) provides:

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(1) A party that without substantial justification fails to disclose information
required by Rule 26(a) or 26(e)( l ), or to amend a prior response to discovery as
required by Rule 26(e)(2), is not, unless such failure is harmless, permitted to
use as evidence ata trial, at a hearing, or on a motion any witness or information
not so disclosed In addition to or in lieu of this sanction, the court, on motion
and after affording an opportunity to be heard, may impose other appropriate
sanctions In addition to requiring payment of reasonable expenses, including
attomey's fees, caused by the failure, these sanctions may include any of the
actions authorized under Rule 37(b)(2)(A), (B), and (C)....
Rule 37(b)(2)(C) authorizes the court to strike any pleadings for failure to comply with an
order or discovery rules.l Thus, when considering Rule 37(c)(l) and Rule(b)(Z)(C) together,
the court may strike any pleading if the party has failed to disclose or has provided a false or
misleading disclosure
l. Michaei Maenza
Defendants argue that the court should strike Michael Maenza’s affidavit because
Plaintiffs failed to disclose this witness either in their initial disclosures or in their discovery
responses Mr. Maenza is an employee with the Tennessee Department of Workplace
Development, a subdivision cf OSHA, and was allegedly contacted by Mr. Bowles to institute

an auditing procedure against Mr. Hill’s business.

Plaintiffs argue that they did not include Mr. Maenza on the witness disclosure list

 

l Defendant also argues for exclusion under Fed. R. Civ. P. l6(f) for failure of a party to
obey a scheduling order pursuant to Rule 37. Rule 16(f) states that if a party:

fails to obey a scheduling or pretrial order... or if a party or party’s attorney fails to

participate in good faith, the judge, upon motion or in the judge’s own initiative,

may make such orders with regard thereto as are just, and among others any of the

orders provided in Rule 37(b)(2)(B), (C), (D).

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because his identity was not known until May lO, 2005. Plaintiffs’ counsel states that she had
made numerous phone calls to learn the identity the individuals contacted by Mr. Bowles but
was unsuccessful Patsy Mittelstaedt Aff. at‘|l l. Plaintiffs’ counsel also states that Mr. Bowles
never indicated that he had contacted the Tennessee Department of Workplace Development
and had only made the general statement that he had contacted OSHA. Patsy Mittelstaedt Aff.
at ii 5 . Finally, Plaintiffs’ counsel states that it was not until her May lOth phone call to the
Tennessee Department of Workplace Development that she learned of Mr. Maenza or that he
had spoken with Mr. Bowles about auditing Mr. Hill’s business Patsy Mittelstaedt Aff. at il
2.

On these facts, the motion to strike Mr. Maenza’s affidavit is denied because Plaintiffs
did not learn of him until May lO, 2005. In light of this new information, discovery will be
reopened for sixty days to allow Defendants to take discovery of Mr. Maenza. Also, Plaintiffs
will have thirty (30) days to update their witness list.
2. Jimmie and Barbara Hill

Defendants argue that the court should strike the affidavits of Jimmie and Barbara Hill
because the information in their affidavits directly contradict their previous responses,
deposition testimonies, and admissions made in their responses Specifically, Defendants refer
to Barbara Hills statements that she has been “depressed” because she has “been targets of
J ames Bowles, Mayor Wallace Keymon and Gibson Policernen,” that she could not sleep, eat,
and was “depressed and sick about all of the events taking place, and that she was “anxious,

nervous and fearful over the actions of the Defendants.” Barbara Hill Aff. at ii 1,4. ln

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addition, Jimmie Hill stated that his wife had been sick, worried, and depressed Jimmie Hill
Aff. at il 3. He also stated that he had been “restless” over the incidents and has “sleepless
nights, am depressed.” Jimmie Hill Aff. atil 2, Also, in Defendants’ memorandum in support
of their motion for surrnnaryjudgment, Defendants stated a number of facts related to damages
Paragraph seventy~two stated that Plaintiffs claimed a loss of their truck, payment of a $2,500
fine to OSHA, and loss of time responding to audits from various agencies ln Plaintiffs’
response, they admitted that these were claimed damages Plaintiffs’ Response to Material
F acts Upon Which Defendants Rer in Support of Their Motion for Summary Judgment, at 11
72.

ln contrast, Defendants refer to Plaintiffs’ numerous admissions that they did not suffer
from emotional damages and that Barbara Hill had suffered no damages whatsoever. In
response to Defendants’ interrogatory, Plaintiffs were asked to identify all losses, expenses
and/or damages that are contended in this case, to which the answer was “none.” Defendants’
lnterrogatory No. 4. Further, Barbara Hill was deposed as to any problems she may have as
a result of the alleged incidents and answered “what problems do I have‘?”... “none.” Barbara
Hill Depo. at 25-26. In addition, in paragraph seventy-three of Defendants’ memorandum in
support of their motion for summary judgment, Defendants stated that “Plaintiffs do not list
mental anguish or emotional distress in their Disc]osures and lnterrogatories and no damages
are listed for Barbara Hill.” Plaintiffs admitted this statement in their response Plaintiffs’
Response to Material F acts Upon Which Defendants Rely in Support of Their Motion for

Surrnnary Judgment, at ‘|l 73. Paragraph seventy-four asked for “information with respect to

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Plaintiffs’ medical, psychological, and counseling treatment for the last 10 years,” to which
Plaintiff responded “N/A.” Plaintiffs’ Response to Material F acts Upon Which Defendants
Rely in Support of Their Motion for Summary Judgment, at11 74. Lastly, P]aintiffs “admitted”
in their response that “they received no medical treatment as a result of the alleged incidents,
and Barbara Hill stated that she had no problems that she related to the incidents.” Plaintiffs’
Response to Material Facts Upon Which Defendants Rely in Support of Their Motion for
Summary Judgment, at il 75.

1n Lockard v. General Motors CorD., 52 Fed.Apr. 782 (G‘h Cir. 2002), the Sixth Circuit
upheld the district court’s decision to strike “‘the portions of the Plaintiff’ s affidavits which
contradict her previous testimonyl ”’ 52 Fed.Apr. at 789 (quoting Lockard v. General Motors
Q)_rp_., 128 F.Supp.2d 458 (N.D.Ohio 2001)). In affirming the district court, the Sixth Circuit
held that “[a] party who has been examined at length at deposition cannot create a genuine
issue of material fact by later submitting an affidavit that contradicts previously sworn
testimony.” l_d. (citing Penny v. United Parcel Serv., 128 F.3d 408, 416 (6th Cir. 1997); item

v. Sears Roebuck & Co., 790 F.2d 453, 460 (6th Cir. 1986)). Because the Lockard plaintiffs

 

 

affidavit was inconsistent with her deposition, the district court did not abuse its discretion by
striking those portions of the affidavit that contradicted the sworn testimony. 1<_:]_a at 789-9().
1n the present case, Plaintiffs’ affidavits are inconsistent with their depositions and
answers to Defendants’ interrogatories While Plaintiffs claim damages and emotional
damages in their affidavits and in paragraph seventy-two of Plaintiffs’ response to Defendants’

motion for summary judgment, Plaintiffs contradict themselves by answering that they did not

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suffer from damages or emotional damages in other documents F or example, in response to
Defendants’ lnterrogatory No. 4, Plaintiffs failed to identify any losses, expenses, and/or
damages contended in this case ln addition, Barbara Hill’s deposition stated that did not have
any problems as a result of the alleged incidents with Defendants. Further, in Plaintiffs’
response to Defendants’ motion for summary judgment, they admitted that they “do not list
mental anguish or emotional distress in their Disclosures or Interrogatories and no damages are
listed for Barbara Hill.” Plaintiffs’ Response to Material Facts Upon Which Defendants Rer
in Support of Their Motion for Summary Judgment, at il 73. Finally, Plaintiffs described a
section requesting their medical, psychological, and counseling treatment as not applicable
Accordingly, all portions of Jimmie and Barbara Hill’s affidavits that are in contradiction to
their answers to Defendants’ interrogatories or their sworn depositions are struck pursuant to
Rule 37(c).

IT IS SO ORDERED.

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JA s D. 'To'DD

TED sr TES DISTRICT JUDGE
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DATE y

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-01151 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

